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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

CALVIN CLAY,                                )
                                            )
              Plaintiff,                    )       No. 15 CV 9777
                                            )
                      v.                    )       Honorable Edmond E. Chang
                                            )       Judge Presiding
COLIN KAESTNER, et al.                      )
                                            )
              Defendants.                   )

            DEFENDANTS’ANSWER, AFFIRMATIVE DEFENSES, AND
         JURY DEMAND TO PLAINTIFF’S FIRST AMENDED COMPLAINT

       NOW COME the Defendants, COLIN KAESTNER and KAREN RICHMOND, by and

through their attorney, LISA MADIGAN, Attorney General of Illinois, and hereby answer

Plaintiff’s First Amended Complaint, as follows:

   1. On 2/19/14 Plaintiff was ordered to move to another cell house at which time he
      complied, properly packed his property and moved.

ANSWER:       Defendants admit that Plaintiff was transferred from F House to E House on
              2/19/14. Defendants lack knowledge or information sufficient to form a belief
              as to the truth of the remaining allegations set form in Paragraph 1.

   2. On 2/19/2014 while Plaintiff was moving his property out of F-House, Defendant Torri
      maliciously and improperly confiscated his state issued work boots, which is a basic
      human need at his assignment in the kitchen.

ANSWER:       Averments directed towards others do not require a response from
              Defendants. To the extent that a response is required, Defendants deny the
              allegations set forth in Paragraph 2.

   3. On 2/21/2014 while at his assignment, Plaintiff was ordered to clean out the deep fryer
      without any training whatsoever on how to do so, by Defendants Kaestner and
      Richmond. Plaintiff informed both Defendants Kaestner and Richmond that he did not
      have any training on how to do so, but both Defendants Kaestner and Richmond
      deliberately and callously ignored him and ordered him to clean the fryer.

ANSWER:       Defendants deny the allegations set forth in Paragraph 3.



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   4. On 2/21/14 while following the order to clean out the fryer. The hot oil and water
      overflowed the receptacle, spilling on to Plaintiff’s left foot causing severe burns due to
      the deliberate and callous refusal to train Plaintiff, by Defendants Kaestner and
      Richmond, and malicious and improper confiscation of his work boots, a basic need for
      his assignment in the kitchen, by Defendant Torri.

ANSWER:        Defendants deny that Plaintiff was not properly trained. Defendants lack
               knowledge or information sufficient to form a belief as to the truth of the
               remaining allegations set forth in Paragraph 4.

   5. From 2/22/14 through 2/24/14 Plaintiff was deliberately denied crutches for mobility and
      his left foot wrapped so tight that had no feeling in his left foot and still no feeling by
      Defendant Kaminski and Defendant Jane Doe.

ANSWER:        Averments directed towards others do not require a response from
               Defendants. To the extent that a response is required, Defendants lack
               knowledge or information sufficient to form a belief as to the truth of the
               allegations set forth in Paragraph 5.

(1) A declaration that the act and omissions described herein violated Plaintiff’s rights under the
Constitution and laws of the United States; (2) Compensatory Damages as allowed by law
against each defendant, jointly and severally; (3) Punitive damages as allowed by law against
each defendant; (4) Plaintiff’s costs in this suit and any additional relief that is just and proper

ANSWER:        Defendants expressly deny that Plaintiff‘s human rights were violated and
               that Plaintiff is entitled to any relief whatsoever.

                                      GENERAL DENIAL

       Defendants, COLIN KAESTNER and KAREN RICHMOND, deny each and every

allegation not specifically admitted herein.

                                  AFFIRMATIVE DEFENSES

       NOW COME the Defendants, COLIN KAESTNER and KAREN RICHMOND, by and

through their attorney LISA MADIGAN, Attorney General for Illinois, to plead the following

Affirmative Defenses.

                                    Affirmative Defense No. 1
                                        Qualified Immunity

       At all times relevant herein, Defendants acted in good faith and in furtherance of lawful



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objectives without violating Plaintiff’s clearly established statutory or constitutional rights of

which a reasonable person would have known. Defendants are therefore protected from suit by

the doctrine of qualified immunity.

                                   Affirmative Defense No. 2
                                  Prison Litigation Reform Act

       To the extent applicable, Plaintiff is governed by the Prison Litigation Reform Act

(“Act”), 42 U.S.C. § 1997(e)(a). Plaintiff failed to exhaust the administrative remedies as

required by the Act, id.; see also Dale v. Lappin, 376 F. 3d 652, 655 (7th Cir. 2004).

                                        JURY DEMAND

       Defendants demand a trial by jury on all issues herein triable.


                                                     Respectfully submitted,

LISA MADIGAN
Attorney General of Illinois                 By:     /s/ Phillip W. Rehani
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                                                     General Law Bureau
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                                  CERTIFICATE OF SERVICE

        The undersigned attorney hereby certifies that the aforementioned document was served on the
below named party by U.S. Mail, postage prepaid, by depositing a copy of the document at the U.S.
Postal Office at 100 W. Randolph, Chicago, IL 60601 on September 9, 2016.

Calvin Clay (R-14334)
Stateville –STV
P.O. Box 112
Joliet, Illinois 60434
                                                             /s/ Phillip W. Rehani




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